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 1   Christine Y. Wong, Bar No. 284026
     ChristineWong@mofo.com
 2   Morrison & Foerster LLP
     425 Market Street
 3   San Francisco, California 94105-2482
     Telephone:    415.268.7000
 4   Facsimile:    415.268.7522
     Attorney for Gary Szukalski
 5
     Ted W. Cassman, Bar No. 98932
 6   Raphael M. Goldman, Bar No. 229261
     goldman@achlaw.com
 7   cassman@achlaw.com
     Arguedas, Cassman, Headley & Goldman LLP
 8   803 Hearst Avenue
     Berkeley, CA 94710
 9   Telephone: (510) 845-3000
     Facsimile: (510) 845-3003
10   Attorneys for Nicole Eagan

11   Thomas H. Bienert, Jr., Bar No. 135311
     Sandra Lechman, Bar No. 288660
12   tbienert@bklwlaw.com
     slechman@bklwlaw.com
13   Bienert Katzman Littrell Williams LLP
     CalEdison Building
14   601 W. 5th Street, Suite 720
     Los Angeles, CA 90071
15   Telephone: (213) 528-3400
     Facsimile: (949) 369-3701
16
     Stephen Binhak (pro hac vice application imminent)
17   binhaks@binhaklaw.com
     The Law Office of Stephen James Binhak, P.L.L.C.
18   One Southeast Third Ave., Suite 2600
     Miami, Florida 33131
19   Telephone: (305) 361-5500
     Facsimile: (305) 428-9532
20   Attorneys for Rob Sass

21                                 UNITED STATES DISTRICT COURT

22                            NORTHERN DISTRICT OF CALIFORNIA

23

24   UNITED STATES OF AMERICA,                            Case No. 3:18-cr-577-CRB

25                    Plaintiff,                          [PROPOSED] ORDER EXTENDING
                                                          TIME TO RESPOND TO RULE 17
26          v.                                            SUBPOENAS

27   MICHAEL RICHARD LYNCH and
     STEPHEN KEITH CHAMBERLAIN,
28
     [PROPOSED] ORDER EXTENDING TIME TO RESPOND TO
     RULE 17 SUBPOENAS
     Case No. 3:18-cr-577-CRB
     SF:4938166
       Case 3:18-cr-00577-CRB Document 127 Filed 10/04/22 Page 2 of 2



 1                      Defendants.

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 3            FOR GOOD CAUSE SHOWN, based upon the facts set forth in the stipulation and the

 4   representations of the parties, the Court hereby grants Gary Szukalski, Nicole Eagan, and Rob

 5   Sass (the “Subpoena Recipients”) a sixty (60) day extension of time in which to produce

 6   documents in response to the June 8, 2022 Court issued Rule 17 Subpoenas to Testify and

 7   Produce Documents or Objects in a Criminal Case (the “Subpoenas”).

 8            The Subpoena Recipients’ deadline to produce documents responsive to the Subpoenas is

 9   extended by sixty days, to and including December 5, 2022.

10            PURSUANT TO STIPULATION, IT IS SO ORDERED.

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14   Dated:
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16                                                   THE HONORABLE CHARLES R. BREYER
                                                     United States District Judge
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     [PROPOSED] ORDER EXTENDING TIME TO RESPOND TO
     RULE 17 SUBPOENAS                                                                               -2-
     Case No. 3:18-cr-577-CRB
     SF:4938166
